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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO
                       Byron G. Rogers United States Courthouse
                            1929 Stout Street, Room C450
                                Denver, Colorado 80294
LEWIS T. BABCOCK                                                            303-844-2527
         Judge



                                       June 9, 2022




TO:           Jeffrey Colwell, Clerk

FROM:         Judge Babcock                      s/LTB

RE:           Civil Action No. 22-cv-01431
              Archipley v. Telluride Council for the Arts




Exercising my prerogative as a senior judge, I request that this case be reassigned.




LTB/jp
